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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
 7

 8        Shaun Williams                                    CASE NO. 3:21-cv-05910-BHS
                                                            [to be filled in by Clerk’s Office]
 9
                                                            COMPLAINT FOR VIOLATION
10                                          ,               OF CIVIL RIGHTS
                                                            (for use only by plaintiffs not in
11                                  Plaintiff(s),           custody)
                 v.
12                                                                            ✔ No
                                                            Jury Trial: ‫ ܆‬Yes ‫܆‬
          Robert Ferguson
13        Kevin Hull
14        Matthew Clucas                    ,
15                                  Defendant(s).
16
                            I.      THE PARTIES TO THIS COMPLAINT
17
     A.      Plaintiff(s)
18
            Provide the information below for each plaintiff named in the complaint. Attach
19   additional pages if needed.

20
               Name                  Shaun Williams
21             Street Address        PO Box 2233

22             City and County       Port Orchard, Kitsap
               State and Zip Code    Wa 98366
23             Telephone Number (360) 434-8339
24



     COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 1
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 1   B.      Defendant(s)

 2          Provide the information below for each defendant named in the complaint, whether the
     defendant is an individual, a government agency, an organization, or a corporation. For an
 3   individual defendant, include the person's job or title (if known). Attach additional pages if
     needed.
 4
               Defendant No. 1
 5
                      Name                      Robert Ferguson
 6                    Job or Title (if known)   Washington State Attorney General
 7                    Street Address            1125 Washington St SE
                      City and County           Olympia, Thurston
 8
                      State and Zip Code        98504
 9                    Telephone Number          (360) 664-9083
10                    ‫ ܆‬Individual capacity     ‫ ܆‬Official capacity
                                                 ✔




11
               Defendant No. 2
12                    Name                      Kevin Hull
13                    Job or Title (if known)   Kitsap County Superior Court Department 6
                      Street Address            14 Division St
14
                      City and County           Port Orchard, Kitsap
15                    State and Zip Code        Wa 98366
16                    Telephone Number          (360) 337-5704
                      ✔ Individual capacity
                      ‫܆‬                         ‫܆‬
                                                ✔
                                                  Official capacity
17

18             Defendant No. 3

19                    Name                      Matthew Clucas
                      Job or Title (if known)   Kitsap County Superior Court Commissioner
20
                      Street Address            14 Division St MS 24
21
                      City and County           Port Orchard, Kitsap
22                    State and Zip Code        Wa 98366
                      Telephone Number          (360) 337-7140
23
                      ✔ Individual capacity
                      ‫܆‬                         ‫܆‬
                                                ✔
                                                  Official capacity
24



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 1             Defendant No. 4

 2                    Name
                      Job or Title (if known)
 3
                      Street Address
 4                    City and County
 5                    State and Zip Code
                      Telephone Number
 6
                      ‫ ܆‬Individual capacity       ‫ ܆‬Official capacity
 7

 8
                                        II.      PREVIOUS LAWSUITS
 9
             Have you brought any other lawsuits in any federal court in the United States:?
10
                      ✔ No
                      ‫܆‬                ‫ ܆‬Yes         If yes, how many?
11
             Describe the lawsuit:
12

13

14

15

16
             Parties to this previous lawsuit:
17

18

19

20

21
             Plaintiff(s)
22

23

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 3           Defendant(s)

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 8           (If there is more than one previous lawsuit, describe the additional lawsuits on another
     piece of paper using the same outline. Attach additional sheets, if necessary)
 9
             Court and name of district:
10

11
             Docket Number:
12
             Assigned Judge:
13
             Disposition: (For example, was the case dismissed as frivolous or for failure to state a
14
     claim? Was it appealed? Is it still pending?)
15

16

17

18
             Approximate filing date of lawsuit:
19
             Approximate date of disposition:
20

21                                III.     BASIS FOR JURISDICTION

22           Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any

23   rights, privileges, or immunities secured by the Constitution and [federal laws]." Under Bivens

24



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 1   v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may

 2   sue federal officials for the violation of certain constitutional rights.

 3   A.      Are you bringing suite against (check all that apply):

 4           ‫܆‬        Federal officials (a Bivens claim)

 5           ‫܆‬
             ✔        State or local officials (a § 1983 claim)
 6
     B.      Section 1983 allows claims alleging the "deprivation of any rights, privileges, or
 7
             immunities secured by the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are
 8
             suing under section 1983, what federal constitutional or statutory right(s) do you claim
 9
             is/are being violated by state or local officials?
10           Deprived of property and liberty without due process due to court order issued contrary to federal law


11           and supreme court precedent. Violation of the 14th Amendment.


12

13

14
     C.      Plaintiffs suing under Bivens may only recover for the violation of certain constitutional
15
             rights. If you are suing under Bivens, what constitutional right(s) do you claim is/are
16
             being violated by federal officials?
17

18

19

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21
     D.      Section 1983 allows defendants to be found liable only when they have acted "under
22
             color of any     statute, ordinance, regulation, custom, or usage, of any State or Territory
23
             or the District of Columbia." 42 U.S.C. § 1983. If you are suing under section 1983,
24
             explain how each defendant acted under color of state or local law. If you are suing


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 1           under Bivens, explain how each defendant acted under color of federal law. Attach

 2           additional pages if needed.
             Mr. Clucas acted in his capacity as Kitsap County Family Court Commissioner to issue an order
 3
             that was contrary to federal law and Supreme Court precedent. He then denied a motion to vacate citing
 4
             applicable federal law. Mr. Hull is Mr. Clucas' superior and also denied the motion to vacate when
 5
             brought before him. Mr. Ferguson is the head of the state judicial system and in charge of both men.
 6

 7                                              IV.        STATEMENT OF CLAIM

 8   State as briefly as possible the facts of your case. Describe how each defendant was personally
     involved in the alleged wrongful action, along with the dates and locations of all relevant events.
 9   You may wish to include further details such as the names of other persons involved in the events
     giving rise to your claims. Do not cite any cases or statutes. If more than one claim is asserted,
10   number each claim and write a short and plain statement of each claim in a separate paragraph.
     Attach additional pages if needed.
11
             Mr. Clucas issued an order contrary to federal law and Supreme Court precedent. He then held me in contempt of
12
             that order. He further denied a motion to vacate as void due to federal law superseding his order. Mr. Hull also denied
13
             that motion when brought before him. Mr. Ferguson failed to provide clear direction to his judges in regards to VA disability claims.
14

15   A.      Where did the events giving rise to your claim(s) occur?
             Kitsap County Superior Court
16

17

18   B.      What date and approximate time did the events giving rise to your claim(s) occur?
             August 6, 2019; February 29, 2020; January 6, 2021
19

20   C.      What are the facts underlying your claim(s)? (For example: What happened to you?

21           Who did what? Was anyone else involved? Who else saw what happened?)
             An order indemnifying my former spouse for loss of income from my military retirement due to the award of
22
             Veteran's Administration Disability was issued by Mr. Clucas. He further held me in contempt during the pandemic when
23
             I was unemployed and the disability was my only income. Mr. Clucas has denied any motion to vacate as void and threatens
24



     COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 6
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             me with jail if I do not pay. This has resulted in my homelessness and destitution. Mr. Clucas is not authorized to act as an attorney by the VA.
 1

 2                                                                V.          INJURIES

 3   If you sustained injuries related to the events alleged above, describe your injuries and state
     what medical treatment, if any, you required and did or did not receive.
 4

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 8
                                                                    VI.         RELIEF
 9
     State briefly what you want the court to do for you. Make no legal arguments. Do not cite any
10   cases or statutes. If requesting money damages, include the amounts of any actual damages
     and/or punitive damages claimed for the acts alleged. Explain the basis for these claims.
11           I ask that the court vacate the Maintenence and Contempt orders issued by Mr. Clucas.

12           I further ask that Mr. Clucas be ordered to repay me the $14,110.97 as of today that

13           I overpaid my former spouse as a result of his order. I further ask that the court fine Mr. Clucas,

14           Mr. Hull and Mr Ferguson as federal law allows for such actions. I further ask for as much punitive damages as this court finds fair.


15
                                           VII.         CERTIFICATION AND CLOSING
16
             Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
17
     knowledge, information, and belief that this complaint: (1) is not being presented for an improper
18
     purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
19
     (2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
20
     reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
21
     identified, will likely have evidentiary support after a reasonable opportunity for further
22
     investigation or discovery; and (4) the complaint otherwise complies with the requirements of
23
     Rule 11.
24



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 1           I agree to provide the Clerk's Office with any changes to my address where case-related

 2   papers may be served. I understand that my failure to keep a current address on file with the

 3   Clerk's Office may result in the dismissal of my case.

 4           Date of signing:              13DEC21
 5           Signature of Plaintiff

 6           Printed Name of Plaintiff     Shaun Williams
 7

 8           Date of signing:

 9           Signature of Plaintiff

10           Printed Name of Plaintiff

11

12           Date of signing:

13           Signature of Plaintiff

14           Printed Name of Plaintiff

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